Case “eo Document 2 Filed ee Page 1 of 1

AO 442 (Rev. 10/03) Warrant for Arrest

 

 

~ UNITED STATES DISTRICT COURT
| WESTERN District of TEXAS |

 

 

UNITED STATES OF AMERICA — me
| WARRANT FOR ARREST
ve :
ROBERT RICHARD RHODES Case Number: SA-11-291M

 

 

To: The United States Marshal and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest ROBERT RICHARD RHODES

Name
and bring him or her forthwith to the nearest magistrate judge to answer a(n)
["] Indictment — [_] Information [X] Complaint [[] Order of [_] Probation [_] Supervised Release ~ [| Violation
court Violation Violation Petition Notice

Petition

charging him or her with (brief description of offense):

traveling in interstate commerce from Kentucky to Texas and knowingly failing to register and/or update registration as
required by the Sex Offender Registration and Notification Act.

 

 

 

 

 

in violation of Title 18 United States Code, Section(s) 2250
PAMELA A. MATHY boy phh ltr
Name of Issuing Officer Signet Issuing Officer S
U.S. Magistrate Judge - 7 April 6, 2011 San Antonio, TX
Title of Issuing Officer ; Date and Location
RETURN

 

 

 

This warrant was received and executed with the arrest of the above-named defendant at

 

 

DATE RECEIVED
NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

 

DATE OF ARREST

 

 

 

 
